                                                          Case 9:16-bk-06499-FMD                   Doc 1211 Filed 10/31/18
                                                                                                     FORM                                     Page 1 of 7
                                                                           INDIVIDUAL ESTATE PROPERTY RECORD AND REPORT                                                                                      Page:       1
                                                                                            ASSET CASES
Case No:            16-06499       CED     Judge: Caryl E. Delano                                                                    Trustee Name:                      Robert E. Tardif Jr.
Case Name:          CARHART, CHRIS E                                                                                                Date Filed (f) or Converted (c):    07/29/16 (f)
                                                                                                                                    341(a) Meeting Date:                08/30/16
For Period Ending: 09/30/18                                                                                                         Claims Bar Date:                    12/27/16



                                       1                                            2                          3                         4                         5                                   6
                                                                                                      Estimated Net Value
                                                                                Petition/        (Value Determined by Trustee,    Property Formally           Sale/Funds                 Asset Fully Administered (FA)/
                             Asset Description                                 Unscheduled          Less Liens, Exemptions,          Abandoned                Received by               Gross Value of Remaining Assets
                 (Scheduled and Unscheduled (u) Property)                        Values                and Other Costs)          OA=554(a) Abandon             the Estate

 1. HOMESTEAD-621 SEAVIEW CT, MARCO ISLAND                                        134,662.00                             0.00                                                0.00                    FA
 2. HOME-3512 WHITE EAGLE DR, NAPERVILLE IL                                       799,000.00                       35,000.00                                           104,049.93                    FA
     Current value is an estimate of the sum the estate could receive
     following sale of IL property due to carve out agreement.
 3. 2012 AUDI A4 2.0 T                                                             16,525.00                       15,525.00                                            12,600.00                    FA
 4. 2011 NISSAN JUKE                                                               12,125.00                       12,125.00                                             7,700.00                    FA
 5. HOUSEHOLD GOODS, BOOKS/PICTURES/CHILDRENS CD AND V                              2,109.00                        1,001.00                                                 0.00                    FA
     1/2 interest in Household goods, furnishings, appliances, books &
     pictures (FMV $4,218)
 6. ELECTRONICS (1/2 INTEREST)                                                      1,500.00                        1,000.00                                                 0.00                    FA
 7. CLOTHING                                                                            400.00                        400.00                                                 0.00                    FA
 8. WATCH AND WEDDING RING                                                              250.00                        250.00                                                 0.00                    FA
 9. CHECKING ACCOUNTS                                                               1,345.00                        1,345.00                                                 0.00                    FA
 10. CARHART EQUIPMENT                                                                    1.00                           0.00                                                0.00                    FA
 11. CARHART INTERNATIONAL                                                                1.00                           0.00                                                0.00                    FA
 12. 1 TERM LIFE INSURANCE POLICY                                                   Unknown                              0.00                                                0.00                    FA
 13. HAND TOOLS                                                                         550.00                        550.00                                                 0.00                    FA
 14. PERSONAL PAPERS                                                                      1.00                           0.00                                                0.00                    FA
 15. FRAUDULENT TRANSFER (BIALLAS) (u)                                                    0.00                     50,000.00                                                 0.00                          5,000.00
     Trustee value is estimate only.
 16. CASH                                                                               335.00                        335.00                                                 0.00                    FA
 17. CARHART-HALASKA INT'L                                                        241,567.00                             0.00                                                0.00                    FA
     FJ against Debtor by this company so Trustee does not believe Debtor is
     owed money from same company.

                                                                                                                                                                                       Gross Value of Remaining Assets




LFORM1                                                                                                                                                                                                                Ver: 20.02
                                                            Case 9:16-bk-06499-FMD                          Doc 1211 Filed 10/31/18
                                                                                                              FORM                                       Page 2 of 7
                                                                               INDIVIDUAL ESTATE PROPERTY RECORD AND REPORT                                                                                             Page:       2
                                                                                                ASSET CASES
Case No:             16-06499       CED     Judge: Caryl E. Delano                                                                              Trustee Name:                       Robert E. Tardif Jr.
Case Name:           CARHART, CHRIS E                                                                                                          Date Filed (f) or Converted (c):     07/29/16 (f)
                                                                                                                                               341(a) Meeting Date:                 08/30/16
                                                                                                                                               Claims Bar Date:                     12/27/16



                                       1                                                    2                            3                          4                         5                                     6
                                                                                                              Estimated Net Value
                                                                                      Petition/          (Value Determined by Trustee,       Property Formally           Sale/Funds                   Asset Fully Administered (FA)/
                              Asset Description                                      Unscheduled            Less Liens, Exemptions,             Abandoned                Received by                 Gross Value of Remaining Assets
                  (Scheduled and Unscheduled (u) Property)                             Values                  and Other Costs)             OA=554(a) Abandon             the Estate

 TOTALS (Excluding Unknown Values)                                                     $1,210,371.00                         $117,531.00                                          $124,349.93                        $5,000.00
                                                                                                                                                                                                   (Total Dollar Amount in Column 6)

   _____________________________________________________________________________________________________________________________
   Major activities affecting case closing which are not reflected above, and matters pending, date of hearing or sale, and other action:


   August 17, 2016 (GAH) Debtor out of country. 341 rescheduled to 9/13 at 8:45 am Atty will file notice.


   August 12, 2016 (GAH) Motion filed to extend deadline to file rest of Schedules to 8/31/16. Received 341 docs; need
   DOF bank stms.


   October 13, 2016 (RET) - Prepared OTE on Illinois home. (response filed; hearing set) OTE sustained


   December 08, 2016 (RET) - Filed adversary proceeding against John Biallas, Illinois attorney. (Biallas given 30 days
   extension from the court to file response - due 2/10/17) Set for PTC 3/23/17. Response to Complaint filed.


   December 16, 2016 (RET) - Spoke to Brian Zeeck (Hinshaw Firm) re: OTE pending.


   February 08, 2017 (RET) - Trustee reached agreement with Hinshaw Firm (FJ lien on IL real estate) for a carve out to
   unsecureds if Trustee succeeds on OTE and is able to administer property.


   February 13, 2017 (RET) - Filed motion for temporary restraining order in Biallas adversary. (hearing set for 2/23/17)


   February 22, 2017 (GAH) Proposed Stip for $34,117.20 at $2,436.94 per mo. beginning 3/15/17 for 14 mos. plus 7/12 of any
   2016 tax refund. Requested car titles and insurance with RET as loss payee. (signed Stip not returned)




LFORM1                                                                                                                                                                                                                           Ver: 20.02
                                                            Case 9:16-bk-06499-FMD                       Doc 1211 Filed 10/31/18
                                                                                                           FORM                        Page 3 of 7
                                                                              INDIVIDUAL ESTATE PROPERTY RECORD AND REPORT                                                             Page:      3
                                                                                               ASSET CASES
Case No:            16-06499        CED    Judge: Caryl E. Delano                                                            Trustee Name:                      Robert E. Tardif Jr.
Case Name:          CARHART, CHRIS E                                                                                         Date Filed (f) or Converted (c):   07/29/16 (f)
                                                                                                                             341(a) Meeting Date:               08/30/16
                                                                                                                             Claims Bar Date:                   12/27/16
   May 04, 2017 (RET) - Emailed realtor ATE on IL home.


   June 12, 2017 (RET) - Email to attorney re: personal property in IL.


   September 28, 2017 (BLK) - Sales proceeds received from sale of the Nissan Juke. Filed Report of Sale, and Application
   for Compensation for Martin Auction.


   October 12, 2017 (RET) - Trial set on Bialas adversary in January 2018.


   December 11, 2017 (RET) - Emailed J. Biallas re: listing northern property.


   December 12, 2017 (RET) - Emailed Coldwell Banker real estate broker for another agent name. Previous agent left the
   office.


   July 09, 2018 (RET) - Emailed N. Cade re: possible distribution to creditors.


   September 07, 2018 (RET) - Emailed J. Biallas re: compromise funds.


   October 24, 2018 (RET) - Follow up with J. Biallas re: settlement funds.


   Initial Projected Date of Final Report (TFR): 07/28/18           Current Projected Date of Final Report (TFR): 12/31/18


             /s/   Robert E. Tardif Jr.
   __________________________________________ Date: 10/31/18
             ROBERT E. TARDIF JR.




LFORM1                                                                                                                                                                                         Ver: 20.02
                                                      Case 9:16-bk-06499-FMD                  Doc 121          Filed 10/31/18           Page 4 of 7
                                                                                                 FORM 2                                                                                             Page:     1
                                                                       ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
  Case No:           16-06499 -CED                                                                                             Trustee Name:                      Robert E. Tardif Jr.
  Case Name:         CARHART, CHRIS E                                                                                          Bank Name:                         BOK FINANCIAL
                                                                                                                               Account Number / CD #:             *******7577 Checking Account (Non-Interest Earn
  Taxpayer ID No:    *******8512
  For Period Ending: 09/30/18                                                                                                  Blanket Bond (per case limit):     $ 26,930,000.00
                                                                                                                               Separate Bond (if applicable):


           1             2                              3                                                  4                                               5                        6                   7
     Transaction     Check or                                                                                                         Uniform                                                       Account / CD
        Date         Reference               Paid To / Received From                          Description Of Transaction             Tran. Code       Deposits ($)         Disbursements ($)         Balance ($)
                                                                                BALANCE FORWARD                                                                                                                   0.00
          08/29/17      3        Autobrokers of Ft. Myers                       Sale of Assets (Doc #85)                             1129-000               12,600.00                                       12,600.00
 *        09/22/17    001000     CHRIS E CARHART                                Payment of Claimed Exemption                         8100-003                                           1,000.00            11,600.00
                                 621 SEAVIEW COURT P2                           to Debtor (upon sale of property by the estate) in
                                 MARCO ISLAND, FL 34145                         accordance with Order authorizing payment entered
                                                                                8/31/17
          09/25/17      4        Martin Auction Services LLC                    SALE OF ASSETS                                       1129-000                   7,700.00                                    19,300.00
          09/29/17               BOK FINANCIAL                                  BANK SERVICE FEE                                     2600-000                                              18.81            19,281.19
          10/16/17    001001     Martin Auction                                 Payment to Auctioneer for Trustee                                                                         828.00            18,453.19
                                 9515 Texas Church Road                         in accordance with Order authorizing payment
                                 Clinton, IL 61727                              entered 10/3/17
                                                                                       Fees                    462.00                3610-000
                                                                                       Expenses                366.00                3620-000
          10/31/17               BOK FINANCIAL                                  BANK SERVICE FEE                                     2600-000                                              29.94            18,423.25
 *        11/17/17    001000     CHRIS E CARHART                                Payment of Claimed Exemption                         8100-003                                           -1,000.00           19,423.25
                                 621 SEAVIEW COURT P2
                                 MARCO ISLAND, FL 34145
          11/17/17    001002     CHRIS E CARHART                                Payment of Claimed Exemption                         8100-002                                           1,000.00            18,423.25
                                 621 SEAVIEW COURT P2                           to Debtor (upon sale of property by the estate) in
                                 MARCO ISLAND, FL 34145                         accordance with Order authorizing payment entered
                                                                                8/31/17
          11/30/17               BOK FINANCIAL                                  BANK SERVICE FEE                                     2600-000                                              27.93            18,395.32
          12/29/17               BOK FINANCIAL                                  BANK SERVICE FEE                                     2600-000                                              28.82            18,366.50
          01/31/18               BOK FINANCIAL                                  BANK SERVICE FEE                                     2600-000                                              28.78            18,337.72
          02/28/18               BOK FINANCIAL                                  BANK SERVICE FEE                                     2600-000                                              24.95            18,312.77
          03/30/18               BOK FINANCIAL                                  BANK SERVICE FEE                                     2600-000                                              27.21            18,285.56
          04/30/18               BOK FINANCIAL                                  BANK SERVICE FEE                                     2600-000                                              26.30            18,259.26
          05/31/18               BOK FINANCIAL                                  BANK SERVICE FEE                                     2600-000                                              27.13            18,232.13
          06/07/18      2        Chicago Title                                  SALE OF ASSETS (Doc #115)                                                  104,049.93                                   122,282.06


                                                                                                                               Page Subtotals              124,349.93                    2,067.87
                                                                                                                                                                                                             Ver: 20.02
LFORM24
                                               Case 9:16-bk-06499-FMD                  Doc 121               Filed 10/31/18        Page 5 of 7
                                                                                            FORM 2                                                                                           Page:   2
                                                                 ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
  Case No:          16-06499 -CED                                                                                         Trustee Name:                    Robert E. Tardif Jr.
  Case Name:        CARHART, CHRIS E                                                                                      Bank Name:                       BOK FINANCIAL
                                                                                                                          Account Number / CD #:           *******7577 Checking Account (Non-Interest Earn
  Taxpayer ID No:    *******8512
  For Period Ending: 09/30/18                                                                                             Blanket Bond (per case limit):   $ 26,930,000.00
                                                                                                                          Separate Bond (if applicable):


          1            2                         3                                                     4                                              5                       6                  7
    Transaction    Check or                                                                                                      Uniform                                                     Account / CD
       Date        Reference           Paid To / Received From                          Description Of Transaction              Tran. Code       Deposits ($)          Disbursements ($)      Balance ($)
                                                                             Memo Amount:     750,000.00                        1110-000
                                                                          SALE OF REAL PROPERTY
                                                                             Memo Amount:          (       18,547.39 )          2500-000
                                                                          2017 County taxes
                                                                             Memo Amount:          (        8,323.45 )          2500-000
                                                                          2018 County taxes
                                                                              Memo Amount:     (             125.00 )           2500-000
                                                                          Title Commitment Update
                                                                              Memo Amount:       (       50.00 )                2500-000
                                                                          Title CPL fee to Chicago Title
                                                                              Memo Amount:         (          3.00 )            2500-000
                                                                          Title Co. - Registration fee
                                                                              Memo Amount:         (         40.00 )            2500-000
                                                                          Title Co. Wiring Fee
                                                                              Memo Amount:         (        2,825.00 )          2500-000
                                                                          Title Insurance fee
                                                                             Memo Amount:          (         47.75 )            2500-000
                                                                          Recording fees
                                                                             Memo Amount:       (            375.00 )           2500-000
                                                                          County Transfer taxes
                                                                              Memo Amount:         (         750.00 )           2500-000
                                                                          State Transfer fees
                                                                             Memo Amount:          (       421,788.14 )         2500-000
                                                                          Payoff 1st Mortgage
                                                                             Memo Amount:         (          132.71 )           2500-000
                                                                          Tax collector penalties
                                                                             Memo Amount:        (    19,445.00 )               3510-000
                                                                          Real estate commission - Coldwell
                                                                              Memo Amount:         (       18,550.00 )          3510-000


                                                                                                                          Page Subtotals                        0.00                  0.00
                                                                                                                                                                                                     Ver: 20.02
LFORM24
                                                           Case 9:16-bk-06499-FMD                    Doc 121             Filed 10/31/18         Page 6 of 7
                                                                                                         FORM 2                                                                                                     Page:       3
                                                                             ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
  Case No:               16-06499 -CED                                                                                                 Trustee Name:                       Robert E. Tardif Jr.
  Case Name:             CARHART, CHRIS E                                                                                              Bank Name:                          BOK FINANCIAL
                                                                                                                                       Account Number / CD #:              *******7577 Checking Account (Non-Interest Earn
  Taxpayer ID No:    *******8512
  For Period Ending: 09/30/18                                                                                                          Blanket Bond (per case limit):      $ 26,930,000.00
                                                                                                                                       Separate Bond (if applicable):


           1                2                                3                                                     4                                                 5                          6                         7
    Transaction         Check or                                                                                                              Uniform                                                               Account / CD
       Date             Reference                 Paid To / Received From                             Description Of Transaction             Tran. Code       Deposits ($)            Disbursements ($)              Balance ($)
                                                                                        Commission to John Greene Realtor
                                                                                            Memo Amount:        (    49,707.70 )             2500-000
                                                                                        Post filing exp (per Order Doc 115)
                                                                                            Memo Amount:       (         750.00 )            2500-000
                                                                                        Sellers Attorney fee
                                                                                           Memo Amount:        (         440.00 )            2500-000
                                                                                        Survey Fee
                                                                                           Memo Amount:        (       104,049.93 )          1180-000
                                                                                        Non-estate funds
          06/13/18       001003      Hinshaw & Culbertson, LLP                          Payment of Non-estate funds                          8500-000                                            78,037.44                    44,244.62
                                     151 North Franklin Street, Suite 2500              in accordance with Order Granting Motion to Sell
                                     Chicago, IL 60606                                  Property Free and Clear of Purported Liens and
                                                                                        Interests (Doc. No. 115)
          06/29/18                   BOK FINANCIAL                                      BANK SERVICE FEE                                     2600-000                                                139.71                   44,104.91
          07/31/18                   BOK FINANCIAL                                      BANK SERVICE FEE                                     2600-000                                                 65.55                   44,039.36
          08/31/18                   BOK FINANCIAL                                      BANK SERVICE FEE                                     2600-000                                                 65.45                   43,973.91
          09/28/18                   BOK FINANCIAL                                      BANK SERVICE FEE                                     2600-000                                                 63.25                   43,910.66

                                             Memo Allocation Receipts:            750,000.00                       COLUMN TOTALS                                    124,349.93                   80,439.27                     43,910.66
                                         Memo Allocation Disbursements:           645,950.07                           Less: Bank Transfers/CD's                          0.00                        0.00
                                                                                                                   Subtotal                                         124,349.93              80,439.27
                                                   Memo Allocation Net:           104,049.93                           Less: Payments to Debtors                                            79,037.44
                                                                                                                   Net
                                                                                                                                                                    124,349.93               1,401.83
                                                                                                                                                                                           NET                             ACCOUNT
                     Total Allocation Receipts:           750,000.00                                              TOTAL - ALL ACCOUNTS                       NET DEPOSITS             DISBURSEMENTS                        BALANCE
               Total Allocation Disbursements:            645,950.07                            Checking Account (Non-Interest Earn - ********7577                   124,349.93                     1,401.83                  43,910.66
                                                                                                                                                           ------------------------    ------------------------   ------------------------
                     Total Memo Allocation Net:           104,049.93
                                                                                                                                                                     124,349.93                     1,401.83                  43,910.66
                                                                                                                                                           ==============             ==============              ==============
                                                                                                                                                            (Excludes Account         (Excludes Payments                   Total Funds


                                                                                                                                       Page Subtotals                        0.00                   78,371.40
                                                                                                                                                                                                                               Ver: 20.02
LFORM24
                                               Case 9:16-bk-06499-FMD              Doc 121          Filed 10/31/18           Page 7 of 7
                                                                                       FORM 2                                                                                          Page:   4
                                                                 ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
  Case No:          16-06499 -CED                                                                                   Trustee Name:                    Robert E. Tardif Jr.
  Case Name:        CARHART, CHRIS E                                                                                Bank Name:                       BOK FINANCIAL
                                                                                                                    Account Number / CD #:           *******7577 Checking Account (Non-Interest Earn
  Taxpayer ID No:    *******8512
  For Period Ending: 09/30/18                                                                                       Blanket Bond (per case limit):   $ 26,930,000.00
                                                                                                                    Separate Bond (if applicable):


          1            2                         3                                              4                                               5                       6                  7
    Transaction    Check or                                                                                                Uniform                                                     Account / CD
       Date        Reference           Paid To / Received From                      Description Of Transaction            Tran. Code       Deposits ($)          Disbursements ($)      Balance ($)
                                                                               Checking Account (Non-Interest Earn - ********7577                Transfers)             To Debtors)            On Hand




                                                                                                                    Page Subtotals                        0.00                  0.00
                                                                                                                                                                                               Ver: 20.02
LFORM24
